                                                                                 Case 5:21-cv-00496-GW-AS Document 46 Filed 12/14/21 Page 1 of 2 Page ID #:586



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                                                                                       CADIZ INC. and CADIZ REAL ESTATE LLC
                                                                                   7
                                                                                   8                        UNITED STATES DISTRICT COURT
                                                                                   9                      CENTRAL DISTRICT OF CALIFORNIA
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




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                                                                                  11   THE NATIVE AMERICAN LAND                       Case No. EDCV 21-496-GW-ASx
                                            2049 Century Park East, Suite 3550




                                                                                       CONSERVANCY and NATIONAL
                                               Los Angeles, CA 90067-3007




                                                                                  12   PARKS CONSERVATION                             ORDER GRANTING STIPULATED
                                                                                       ASSOCIATION,                                   REQUEST TO CONTINUE THE
                                                    Attorneys at Law




                                                                                  13                                                  BRIEFING ON FEDERAL
                                                                                                       Plaintiffs,                    DEFENDANTS’ MOTION FOR
                                                                                  14                                                  VOLUNTARY REMAND AND TO
                                                                                             v.                                       TAKE OFF CALENDAR
                                                                                  15                                                  DEFENDANT-INTERVENORS’
                                                                                       DEBRA HAALAND, Secretary of the                MOTION TO CONTINUE THE
                                                                                  16   Interior, in her official capacity; U.S.       BRIEFING SCHEDULE TO BE
                                                                                       DEPARTMENT OF INTERIOR; U.S.                   HEARD ON JANUARY 3, 2022
                                                                                  17   BUREAU OF LAND
                                                                                       MANAGEMENT; NADA WOLFF
                                                                                  18   CULVER, Senior Advisor to the                  Judge: Hon George H. Wu
                                                                                       Secretary of Interior, exercising the
                                                                                  19   delegated authority of the BLM
                                                                                       Director; KAREN MOURITSEN, BLM
                                                                                  20   California State Director; ANDREW
                                                                                       ARCHULETA, District Manager for
                                                                                  21   BLM California Desert District;
                                                                                       MICHAEL AHRENS, Field Manager
                                                                                  22   for BLM Needles Filed Office; in their
                                                                                       official capacities,
                                                                                  23
                                                                                                       Defendants.
                                                                                  24
                                                                                  25   CADIZ INC. and CADIZ REAL
                                                                                       ESTATE LLC,
                                                                                  26
                                                                                             Defendant-Intervenors
                                                                                  27
                                                                                  28
                                                                                                                                  1
                                                                                       [PROPOSED] ORDER GRANTING STIPULATED REQUEST TO CONTINUE THE BRIEFING ON FEDERAL
                                                                                                        DEFENDANTS’ MOTION FOR VOLUNTARY REMAND ETC.
                                                                                 Case 5:21-cv-00496-GW-AS Document 46 Filed 12/14/21 Page 2 of 2 Page ID #:587



                                                                                   1                                         ORDER
                                                                                   2         Upon consideration of the December 13, 2021 Stipulation to Continue the
                                                                                   3   Briefing on Federal Defendants’ Motion for Voluntary Remand and Take off
                                                                                   4   Calendar Defendant-Intervenors Cadiz Inc. and Cadiz Real Estate LLC’s (“Cadiz”)
                                                                                   5   Motion to Continue the Briefing Schedule to be Heard on January 3, 2022, and
                                                                                   6   otherwise being duly advised on all matters presented on this case, IT IS HEREBY
                                                                                   7   ORDERED that the deadlines in the Court’s October 21, 2021 scheduling order on
                                                                                   8   record in this case (ECF No. 37) shall be continued, as follows:
                                                                                   9
                                                                                       Event                                                   Deadline
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                                  10
                                                                                       Federal Defendants File Any Supplemented                February 4, 2022
                                                                                  11   Administrative Record
                                            2049 Century Park East, Suite 3550
                                               Los Angeles, CA 90067-3007




                                                                                  12   Cadiz and Plaintiffs file Responses to Motion for       March 18, 2022
                                                                                       Voluntary Remand
                                                    Attorneys at Law




                                                                                  13   Cadiz files Response to Plaintiffs’ Responses and       April 15, 2022
                                                                                  14   Plaintiffs file Responses to Cadiz’s Response
                                                                                       Federal Defendants file Reply in Support of Motion      April 15, 2022
                                                                                  15   for Voluntary Remand
                                                                                  16   Hearing                                                 May 5, 2022 at 8:30 a.m.
                                                                                  17
                                                                                             It is further ordered that the hearing scheduled for January 3, 2022 is
                                                                                  18
                                                                                       VACATED.
                                                                                  19
                                                                                  20   Date: December 14, 2021                       ______________________________
                                                                                                                                     The Hon. George H. Wu
                                                                                  21                                                 United States District Judge
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                                                                                       [PROPOSED] ORDER GRANTING STIPULATED REQUEST TO CONTINUE THE BRIEFING ON FEDERAL
                                                                                                        DEFENDANTS’ MOTION FOR VOLUNTARY REMAND ETC.
